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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSY]LVANIA

BRENDA SMITH, Individually and 1 `
as Administratix of the Estate of : No. 3 ‘ / b " 6 l/" / 2 5 g

R.ICKY SMITH
Plaintiffs
v.

SAMIR B. PANCHOLY, M.D. : JURY TRIAL DEMANDED
FACC, ]FSCAI; SAMIR B. ‘ :

PANCHOLY, LLC; NORTH PENN

CARDIOVASCULAR

SPECIALISTS; HAITHAM

A.BUGH[NIA, M.D.; AND

BIOTRONIK, INC.

Defendants.

NOTICE OF REMOVAL

TO TH]E HONORABLE JUDGES OF THE UNITED STATES DISTRICT
C()URT FOR THE MI]DDLE DISTRICT OF PENNSYLVANIA:

Defendant, Biotronik, Inc., by and through its counsei, Marshall D<:nnehey
Warner Coleman & Goggin, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, files
this Not'ice of Rernoval of a certain action pending in the Lackawanna County

Court of Common Pleas, (hereinafter "State Court"), and in support thereof States

as follows:

 

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l. Biotronik, Inc. is named as a defendant in the action entitled sz`th v.
Pancholy et al., 2016-CV-01789, pending in State Court. A true and correct copy
of plaintiffs Complaint is attached hereto as Exhibit "A."

2. Plaintiffs commenced this action by filing a Complaint on or about
May 24, 2016, in State Court.

3. Biotronik Was served With the Complaint on May 31, 2016.

4. Samir B. Pancholy, M.D., Samir B. Pancholy, LLC, Haitham
Abughnia, M.D., and North Penn Cardiovascular Specialists are also named as
defendants in the Complaint. All defendants consent to removal of this action to
this Court pursuant to 28 U.S.C § l446(a). § Affidavit of Consent, attached
hereto as EXhibit "B."

5. Under 28 U.S.C. § l446(b), this Notice of Removal must be filed
Within 30 days of service of the Complaint upon Biotronik. Because Biotronik is
filing this Notice on June 23, 2()16, removal is timely.

6. Concurrent With the filing of this Notice, Biotronik is serving this
Notice on plaintiffs' counsel and filing a copy of the Notice With the Court of
Common Pleas of Lackavvanna County, Pennsylvania. Venue is proper in this

Court pursuant to 28 U.S.C. §§ 1391 and l44l(a) hecause the United States

District Court for the Middle District of Pennsylvania is the federal judicial district

 

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embracing the Lackavvanna County Court of Common Pleas, Where this action Was
originally filed.

7. By filing a Notice of Removal in this matter, Biotronik does not Waive
its rights to object to service of process, the sufficiency of process, jurisdiction
over the person, or venue. Biotronik, as Well, specifically reserves its rights to
assert any defenses and/or objections to Which it may be entitled

8. As shown beloW, this case is removable to federal court based on the
federal question jurisdiction pursuant to 28 U.S.C. § 1331.

9. In the alternative, Biotronik requests that this Court exercise its power
pursuant to Rule 21 of the Federal Rules of Civil Procedure to sever Defendants
Samir B. Pancholy, M.D., Samir B. Pancholy, LLC, Haitham Abughnia, M.D., and
North Penn Cardiovascular Specialists (collectively and hereinafter the "Medical

Defendants"), in order to perfect diversity jurisdiction over Biotronik. §yee, e.g.,
See NeWman-Green, Inc. v. AlfonZo-Larrain, 490 U.S. 826, 832-38 (1989)

(holding that a federal court may, pursuant to Rule 21, sever non'-diverse,

dispensable parties to retain diversity jurisdiction); Meritcare Inc. v. St. Paul

 

Mercurv Ins. Co., 166 F.3d 214, 222-23 (3d Cir. 1999) (same).

FEDERAL OUESTI()N JURISDICTION
1‘0. Under 28 U.S.C. § 1331, the federal district courts “have original

jurisdiction of all civil actions arising under the Constitution, laWs, or treatises of

 

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the United States." 28 U.S.C. § 1331; see also 28 U.S.C. § 1441(a) ("[A]ny civil

 

action brought in a State court of which the district courts of the United States have
original jurisdiction, may be removed by the defendant or the defendants, to the
district court of the United States for the district and division embracing the place
where such action is pending.")

11. ln the Complaint, plaintiffs allege that Mr. Smith was injured by a
Biotronik Implantable Cardioverter-Defibrillator ("ICD") model LumaX 740 HF-T.
§§ Exhibit A. Plaintiffs also make allegations regarding Biotronik implantable
cardioverter defibrillator leads (hereinafter "leads"), model Linox SD. §_e_e_i_d_.

12. Federal regulation of medical devices is governed by the Medical
Device Amendments of 1976 ("l\/[DA"), 21 U.S.C. § 360c et seq. See Riegel v.

Medtronic Inc., 552 U.S. 312, 316 (2008).

 

13. The MDA establishes three (3) classes of stringent federal oversight:

Class I, which includes such devices as elastic bandages and
examination gloves, is subject to the lowest level of oversight[.]"
Class II, which includes such devices as powered wheelchairs and
surgical drapes, is subject in addition to 'special controls' such as
performance standards and postmarket surveillance measures[.]
The devices receiving the most federal oversight are those in Class Ill,
which include replacement heart valves, implanted cerebella
stimulators, and pacemaker pulse generators[.l

I_d_. at 316-17 (emphasis added).

 

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14. Only devices that support or sustain human life or present a potential
unreasonable risk of illness or injury are designated Class III devices. 21 U.S.C. §
3600(a)(l)(C)(ii).

15. Class III devices must go through “a rigorous regime of premarket
approval” before they may be brought to market. lc_l_. at 317.

16. The Biotronik IClD and leads are Class lII medical devices whose
design, manufacturing method, labeling, and instructions for installation and
operation, inj_e_r B, were specifically approved by the Food and Drug
Administration ("FDA") pursuant to the agency’s Premarket Approval ("PMA")
process.1

17. The PMA process for Class III devices isthe most exacting form of
FDA review. See2 e.g., Rieg§l, 552 U.S. at 317-20 (explaining rigorous and
lengthy process for premarket approval of Class III devices).

18. Section 360k(a) of the MDA expressly preempts any state-law claim

that would impose a requirement that is “different from, or in addition to, any

 

‘ The Class Ill classification of these medical devices are a matter of public record accessible in
the FDA's public database online at
http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfPMA/pma.cfm. Thus, this Court may take
judicial notice of the fact of Biotronik's premarket approval, as the FDA website is a database
maintained by it in the normal course of its business and reflects final agency action. §_¢;e Fed. R.
Evid. 201; see also, e.g., Desai v. Sorin CRM USA` Inc., 2013 U.S. Dist. LEXIS 5795, *10, 2013
WL 163298 (D.N.J. Jan. 15, 2013) (holding that courts take judicial notice of the FDA's website
and the fact that the medical device received premarket approval); Starks v. Coloplast Corp.,
2014 U.S. Dist. LEXIS 19611, *3 n.3 (E.D. Pa. Feb. 13, 2014) (holding that courts take judicial
notice of documents that are matters of public record such as FDA reports published on the FDA
website). If this Honorable Court so requires, Defendant Biotronik will provide this Court with
the necessary records demonstrating Class III PMA classification

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requirement applicable . . . to the device” under federal law and imposed by the
FDA. 21 U.S.C. § 360k(a); R_iege_l, 552 U.S. at 321-28. In other words, Congress
expressly preempted state-law tort claims challenging the design, manufacture, or
labeling of a medical device previously approved by the FDA via the PMA
process. The United States Supreme Court reinforced Congress' express
preemption in its recent decision in R_ieg_e_l_.

19. In the Complaint, plaintiffs set forth products liability claims against
Eiiotronik, including manufacturing defects; design defects; malfunctioning of the
medical devices; defective labeling, instructions, and/or warnings; and breach of
express and implied warranty. E Exhibit A, at Counts V-VIII.

2(). While plaintiffs’ claims against Biotronik appear to be pleaded under
state law, each claim is predicated on alleged breaches of duties imposed by
federal law and challenges the safety and effectiveness of a device subject to
pervasive federal regulation and stringent administrative oversight. Notably,
plaintiffs cannot state a claim, nor can they prevail in this matter, against Biotronik
without setting forth a causally-linked violation of relevant FDA requirements
R_iege_l, 552 U.S. at 330. In other words, demonstrating a violation of federal law is

critical and indispensable to plaintiffs' claims and burden of proof against

Biotronik

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21. The threshold inquiry in determining whether a claim "arises under
federal law" _ and thus is removable -- must be determined by reference to the
well-pleaded complaint rule. Merrell Dow Pharmaceuticals, Inc. v. Thompson,
478 U.S. 804, 808 (1986).

22. In Franchise Tax Bd. v. Constr. Laborers Vacation Trust, 463 U.S. 1
(1983), the Supreme Court identified two situations where federal jurisdiction
could be available even though the plaintiffs claim in state court is nominally
based on state law, i_.€;, (1) when "it appears that some substantial, disputed
question of federal law is a necessary element of one of the well-pleaded state
claims" or (2) when it appears that the plaintiffs claim "is 'really' one of federal
law." I_iL at 13; see also Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg.,
545 U.S. 308, 312 (2005) (holding that a claim may arise under federal law, and
thus invoke federal-question jurisdiction either (1) where plaintiff pleads a cause of
action created by federal law or (2) plaintiffs state-law claims implicate significant
federal issues.)

23. The second forrn of federal-question jurisdiction “captures the
commonsense notion that a federal court ought to be able to hear claims recognized
under state law that nonetheless turn on substantial questions of federal law, and

thus justify resort to the experience, solicitude, and hope of uniformity that a

federal forum offers on federal issues.” Grable, 545 U.S'. at 312.

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24. The Supreme Court has “disclaimed the adoption of any bright-line
l rule" when evaluating whether a federal statute creates a substantial federal interest
giving rise to federal-question jurisdiction over claims pleaded under state law. _Id
at 317. “Instead, the question is, does a state-law claim necessarily raise a stated
federal issue, actually disputed and substantial, which a federal forum may
entertain without disturbing any congressionally approved balance of federal and
state judicial responsibilities." I_d_. at 314.
25. By enacting the MDA § 360k(a), Congress expressly established and
bolstered a substantial federal interest, particularly as it relates to the regulation of
l Class 111 PMA medical devices. The Supreme Court explicitly reinforced such
federal interests and express preemption in R_i_ege_l. As the Supreme Court
explained in R_iege_l, the very purpose of the MDA was to “swe[ep] back some state
obligations and impose[] a regime of detailed federal oversight.” nge_l, 552 U.S.
at 316.
26. Due to the facts that Congress entrusted the regulation of medical
l devices to the exclusive authority of the FDA and removed it from the hands of
state legislatures, Congress consequently intended the litigation of claims
innovative Class 111 PMA-medical devices -~ the most complex devices subject to

j ` the most stringent and rigorous federal oversight - to be removable from state
l

l courts. 1n other words, by imposing a regime of such detailed federal oversight,

 

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Congress intended that litigation proceed in federal court so that the federal
judiciary may decide such severely regulated federal matters. See, e.g., id.:, at 316-
30.

257. By filing a Complaint for an injury allegedly caused by a Class 111
PMA medical device, plaintiffs must be alleging conduct that violated the FDA.
()therwise, plaintiffs' claims will be expressly preempted by § 360k(a). §eii¢ at
330 (explaining that § 360k does not prevent a state from providing a damages
remedy for claims premised on a violation of FDA regulations). Either way, a
federal duty and requirement is inevitably at issue in this case and is, in fact, a
required element of plaintiffs' claims against Biotronik. Thus, the disposition of
such claims certainly "implicate significant federal issues" and "turn on substantial
questions of federal law." E_G_ra_b_le_, 545 U.S. at 312.

28. The federal interest in this case is undoubtedly substantial, and the
claims asserted are likely to» be dispositive based on Bi_ege_l and the express
preemption of § 360k(a) as it pertains to Class 111 PMA medical devices. The
substantiality of federal interest in this case is further evidenced by the fact that
federal duties of the FDA are placed at issue as a result of the allegations contained
in plaintiffs' Complaint.

29. Further, proceeding with this case in federal court will not disturb

"any congressionally approved balance of federal and state judicial

 

 

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responsibilities." §LM. at 314. The reason is that Congress’s intent was clear
with respect to Class 111 medical devices. See Riegel, 552 U.S. at 3'16, 326
(holding that the text of § 360k(a) clearly and expressly evinces Congress”s intent
to displace the tort law of 50 States and impose a regime of detailed federal
oversight). Another reason is that claims concerning Class 111 PMA medical
devices constitute a very small fraction of an already very small subset of medical
devices. S_ee_ 21 U.S.C. § 360c(a)(l)(C)(ii) (delineating that Class 111 devices are
only those which support or sustain human life or present a potential unreasonable
risk of illness or injury). Federal jurisdiction over the narrow class of cases is thus
fully consistent with the "balance of federal and state judicial responsibilities" and
the "congressional judgment about the sound division of labor between state and
federal courts." M, 545 U.S. at 314-15.

30. Although it appears, after extensive research, that the Third Circuit
has not decided this precise issue as it pertains to removal and Class 1111 PMA
medical devices, federal courts throughout our nation have approved and upheld
federal--question jurisdiction and notices of removal on the same basis discussed
supra. See H.R. v. Medtronic, 1nc., 996 F. Supp. 2d 671 (S.D. Ohio 2014) (holding
that the substantial-federal-question doctrine applied and thus federal jurisdiction

existed); Arrington v. Medtronic, Inc., 130 F. Supp. 3d 1150 (W.D. Tenn. 2014);

Doolev v. Medtronic, Inc., 39 F. Supp. 3d 973 (W.D. Tenn. 2014) (sam€); Jenkins

 

 

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y_. Medtronic Inc., 984 F. Supp. 2d 873 (W.D. Tenn. 2013) (holding that such

 

claims are properly subject to federal-question jurisdiction under the substantial-
federal-question doctrine because they undoubtedly require a court to examine
federal law, particularly federal requirements imposed by the FDA through the
PMA process).
31. Accordingly, this Court has federal question jurisdiction under 28
U.S.C. § 1331 and this case is removable under 28 U.S.C. § 1441.
ALTERNATIVELY. DIVERSITY JURISD!CTION WILL EXIST

AFTER SEVERANCE OF THE MEDICAL DEFENDANTS
PURSUANT TO FED. R. CIV. P. 21

32. In the event that this Court does not find federal question jurisdiction,
there will be diversity jurisdiction if this Court severs the Medical Defendants.

33. Fed. R. Civ. P. 21 provides that the court may at any time, on just
terms, add or drop a party.

34. If this Honorable Court severs the Medical Defendants pursuant to
Rule 21, diversity jurisdiction will exist between plaintiffs and Defendant
Biotronik because (1) the suit will be between citizens of different states and (2)
the amount in controversy exceeds $75,000, exclusive of costs and interest.

35. According to the Complaint, plaintiffs reside in Meshoppen,

Susquehanna County, Pennsylvania, and thus are citizens of Pennsylva:nia. &e

Exhibit A, at 1111 1-2.

 

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j 36. Defendant Biotronik is a Delaware corporation with a.principal place
of business located at 6024 Jean Road, Lake Oswego, OR 97035.

37 . According to the Complaint, the Medical Defendants are all citizens
of Pennsylvania. § id at 1111 5-8.

38. As currently situated, the parties are not completely diverse because
plaintiffs and the Medical Defendants are citizens of Pennsylvania.

39. Federal Rule of Civil Procedure 21 grants the Court discretion to
retain jurisdiction by severing claims against nondiverse dispensable defendants
Newman-Green, 1nc. v. Alfonzo-Larrain, 490 U.S. 826, 832 (1989).

4‘0. The Medical Defendants are neither necessary nor indispensable, B
Fed. R. Civ. P. 19, because resolution of the medical malpractice/state tort claims
against them would not resolve the products liability claims against Biotronik, and
_v_ice_\§@. The claims against the Medical Defendants involve different legal
l standards and factual allegations than those asserted against Biotronik.

41. Further, as set forth M, plaintiffs' claims against Biotronik involve

l allegations of violations of federal law, whereas the same cannot be said for the
claims against the Medical Defendants.

i 42. Moreover, severing the Medical Defendants will not be unduly

prejudicial because plaintiffs can proceed with their medical malpractice/state tort

law claims against the Medical Defendants in State Court.

 

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43. Accordingly, if the Court does not find federal question jurisdiction,
the Court should sever the Medical Defendants and exercise jurisdiction over this
action.

44. Should the Court sever the Medical Defendants, the amount in
controversy would exceed $75,000 based on a fair reading of the Complaint, as the
Complaint claims that plaintiff died as a result of product defects and other
allegations arises under products liability claims. §§ 28 U.S.C. § 1332(a); §_e_e
dls_o Exhibit A.

WHEREFORE, Defendant, Biotronik, Inc., respectfully requests that this
action be removed from the Court of Common Pleas for Lackawanna County,
assigned for further proceedings to the United States District Court for the Middle
District of Pennsylvania, and that this case be assigned to a Judge for proper
disposition.

Respectfully submitted,

' MARSHALL DENNEHEY
WARNER COLEMAN & GOGGIN

de
By:

Matthew P. Kerz's, Esquz're
PA Attorney I.D. #78704
Robert J. Ala’rl'ch III, Esquire'
PA Attorney I.D. #315911

 

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P.O. Box 31 18

Scranton, PA 18505-3118

(570) 496-4600

Counselfor Defendant Biotronl`k, Inc.

 

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CERTIFICATE OF SERVICE

1, Robert J. Aldrich111, Esquire, do hereby certify that a true and correct copy
of the foregoing Notice of Removal was served upon all parties by first class mail on
the 23rd day of June, 2016 at the following addresses:

Clifford A. Rieders, Esquire

Rieders, Travis, Humphrey, Waters & Dohrmann
161 West Third Street

Williamsport, PA 17701

l Patrick C. Carey, Esquire
Cipriani & Werner, PC
409 Lackawanna Ave., Suite 402
Scranton, PA 18503

Respectfully submitted,

MARSHALL DENNEHEY
WARNER COLEMAN & GOGGIN

1 dee
§ l By:

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